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December 23, 2021

Via ECF Only
U.S. Magistrate Judge Taryn A. Merkl
U.S. District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
       Re:     Justin Vasquez v. East Rockaway Center LLC, et al.
               EDNY Case No.:      1:21-cv-04916
               LJAA File No.:      0406.1001.NY00
Dear Judge Merkl:

       Please allow the following to serve as Defendants’ response to Plaintiff’s December 16,
2021 correspondence. As I reported to Your Honor’s clerk last week, my law firm has had some
technical difficulties over the last week or so. Defense counsel never received any written
correspondence that Plaintiff’s counsel references in his December 16, 2021 letter; I attribute this
to the technical difficulties. That notwithstanding, Defendants shall be serving a pleading
responsive to Plaintiff’s first amended complaint by close of business today. Defendants welcome
the opportunity to conference the case before Your Honor at Your Honor’s convenience.

Very truly yours,

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cc:    Via ECF Only
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